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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 11-62605-CIV-ROSENBAUM

  ACCESS FOR THE DISABLED, INC., et al.,

         Plaintiffs,
  v.

  UNIVERSITY CROSSINGS FIVE, LLC, et al.,

        Defendants.
  _______________________________________/

                                  FINAL ORDER OF DISMISSAL

         This matter is before the Court upon the parties’ Amended Joint Stipulation for Dismissal

  With Prejudice. [D.E. 77]. In this filing, Third-Party Plaintiffs University Crossings Five, LLC, and

  University Crossings Seven, LLC, and Third-Party Defendants Vijay Kumar and Tandoor and Curry,

  Inc., stipulate to the dismissal with prejudice of this case pursuant to Rule 41(a)(1), Fed. R. Civ. P.

  Upon consideration, it is hereby ORDERED and ADJUDGED that the parties’ Joint Stipulation

  for Dismissal With Prejudice [D.E. 77] is approved and adopted, and the above-styled case is hereby

  DISMISSED WITH PREJUDICE. Each party is to bear its own attorney’s fees. The Court shall

  retain jurisdiction for the limited purpose of enforcing the terms of the Settlement Agreement. To

  the extent not otherwise disposed of, all pending motions are hereby DENIED AS MOOT. The

  Clerk is directed to CLOSE this matter.

         DONE and ORDERED in Fort Lauderdale, Florida, this 26th day of October 2012.


                                                         ROBIN S. ROSENBAUM
                                                         UNITED STATES DISTRICT JUDGE
  Copies furnished to:

  Counsel of record
